       CASE 0:22-cv-00098-WMW-JFD Doc. 124 Filed 04/06/23 Page 1 of 1




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


 SMARTMATIC USA CORP.,                                  COURT MINUTES
 SMARTMATIC INTERNATIONAL                          BEFORE: JOHN F. DOCHERTY
 HOLDING B.V., AND                                  U.S. MAGISTRATE JUDGE
 SGO CORPORATION LIMITED,
                                               Case No:        22-cv-98 (WMW/JFD)
                      Plaintiffs,              Date:           April 6, 2023
                                               Location:       Courtroom 6A (STP)
 v.                                            Court Reporter:     Erin Drost
                                               Time Commenced: 12:54 PM
 MICHAEL J. LINDELL, AND MY                    Time Concluded: 1:31 PM
 PILLOW, INC.,                                 Time in Court:      37 min.

                      Defendants.


                                    MOTION HEARING

APPEARANCES:

       Plaintiffs: Michael Bloom and Will Manske

       Defendants: Joseph Pull

PROCEEDINGS:

       The Court heard oral argument on Plaintiffs’ Motion for Leave to File a
Supplemental Complaint and to Amend the Scheduling Order. (Dkt. No. 111.) The Court
granted the motion in part and denied it in part, for the reasons stated on the record. The
Court’s ruling as stated on the record is the complete ruling of the Court and no written
order will issue. Plaintiff will file the supplemental complaint on or before April 7, 2023.



                                                 s/ ATB
                                                 Judicial Law Clerk
